UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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                                        :
UNITED STATES OF AMERICA                :
                                        :
      v.                                : Case No. 1:21-cr-00371-BMC-TAM-3
                                        :
RASHID SULTAN RASHID AL MALIK           :
ALSHAHHI, THOMAS JOSEPH BARRACK, : NOTICE OF APPEARANCE
and MATTHEW GRIMES,                     :
                                        :
                       Defendants.      :
                                        :
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       PLEASE TAKE NOTICE that the undersigned attorney, Abbe David Lowell, of

Winston & Strawn LLP, hereby appears as counsel of record for Defendant Matthew Grimes

in the above-captioned action and further requests that copies of all papers in this action be

served upon the undersigned. I hereby certify that I am admitted to practice in this Court.



Dated: New York, New York                                    Respectfully submitted,
       October 22, 2021

                                                             s/ Abbe David Lowell
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